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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA




    CHERYL SAGATAW and
    DEANTHONY BARNES, on behalf of
    themselves and a class of
    similarly-situated individuals,
                                                             Civil Action

                              Plaintiffs,              No.____________________

             vs.

                                                          CLASS ACTION
    MAYOR JACOB FREY, in his                             COMPLAINT AND
    individual and official capacity,                     DEMAND FOR
                                                           JURY TRIAL

                              Defendant.




                                   INTRODUCTION

         Dozens if not hundreds of unhoused people, most of them Indigenous, have

found temporary shelter at Camp Nenookaasi.1 This refuge, located in the East

Phillips neighborhood of Minneapolis, see Ex. 1 (parcel map), is a

community-based healing camp rooted in Native religious and cultural practices

where people experiencing houselessness can find stable interim shelter.


1
         “Nenookaasi” means “hummingbird” in Ojibwe.

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      Plaintiffs in this case are the residents of Camp Nenookaasi. The Defendant,

Mayor Jacob Frey, is seeking to evict, displace, and scatter them into the harsh

Minnesota winter. Defendant Frey initially scheduled the eviction and destruction

of Camp Nenookaasi for December 14, 2023. He postponed the eviction first to

December 19, 2023, and then indefinitely. On December 29, 2023, the City posted

notice that it intends to evict Camp Nenookaasi in less than a week, on January 4,

2023, a date that looms large on the horizon for Camp residents.

      On eviction day, Plaintiffs will be banished from their homes by Defendant

Frey’s law enforcement officers, equipped with guns and threatening to arrest

anyone who does not comply. Plaintiffs’ homes will then be bulldozed. The

Camp’s ceremonial fire and other sacred sites will be desecrated. Insulated tents,

yurts, teepees, and other shelters will be destroyed. Whatever personal belongings

the Plaintiffs cannot carry away with them will be trashed. Defendant Frey has not

proposed adequate or appropriate plans to house well over a hundred

soon-to-be-evicted residents at the start of Minnesota’s winter season. Given the

long and brutal history of encampment sweeps in Minneapolis and the deadly

frigid winter ahead, Defendant Frey’s planned eviction is dangerous. Plaintiffs not

only face irreparable harms, but reasonably fear for their lives.

      In the meantime, organizers, community members, social workers, local

elected officials, and residents themselves have been hard at work, engaging in


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collaborative dialogue and problem-solving together. By providing food, warmth,

shelter, community, and cultural healing, Camp Nenookaasi has served—and

continues to serve—as a crucial stepping stone to housing stability, sobriety, and

more. And Camp Nenookaasi has had much success. Since its inception on

August 24, 2023, for example, 76 residents (and counting) have been able to obtain

long-term or permanent housing.

      If Defendant Frey is permitted to destroy Camp Nenookaasi, Plaintiffs will

have nowhere to live. They will be disconnected from the supportive community

they have built, the religious ceremonies and cultural healing that occur there, the

food and warmth and shelter from the elements, the clothing and supplies offered

through mutual aid, and the outreach workers who regularly come to the Camp to

meet with clients and connect people to resources. Camp Nenookaasi has created

meaningful and effective opportunities to escape the cycle of houselessness. If

Defendant Frey is permitted to destroy Camp Nenookaasi, Plaintiffs will lose that

opportunity, once again swept from one corner to another of the City as everything

they’ve built is destroyed.

      Defendant Frey is targeting his most vulnerable constituents, not only failing

to create a livable city for them through his own policies, but egregiously using his

power as Mayor to destroy what safety and stability they have managed to build for

themselves. Plaintiffs beg the Court to enjoin him before it is too late.


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                                 JURISDICTION

     1.      Plaintiffs’ claims arise under 42 U.S.C. § 1983 and the Fourth and

Fourteenth Amendments of the United States Constitution, as incorporated against

the States, their agencies, and their municipal divisions through the Fourteenth

Amendment.

     2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331

because Plaintiffs’ claims arise under the United States Constitution and federal

law, and pursuant to 28 U.S.C. § 1367 because this Court has supplemental

jurisdiction over Plaintiffs’ state claims, which arise out of a common nucleus of

operative facts and constitute the same case or controversy as the federal claims at

the heart of this Complaint.

                                     PARTIES

                      Representative Plaintiff Cheryl Sagataw

     3.      Cheryl Sagataw is a 32-year-old resident of Camp Nenookaasi and an

enrolled member of the Potawatomi Nation.

     4.      After attending high school and college in Potawotomi

territory/Michigan, Cheryl worked in the food and beverage industry for ten years.

Sagataw Decl. ¶ 3. She is a domestic abuse survivor who became homeless when

she lost her public housing in March 2023. Id. at ¶¶ 4-5.




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     5.      As an unhoused person, Cheryl has experienced multiple repeated

evictions, sweeps, and displacements from the places where she has tried to set up

shelter for herself. She was repeatedly kicked out of the area under Interstate 94

and eventually relocated to the reinstituted Wall of Forgotten Natives. Id. at ¶ 6.

When the Wall of Forgotten Natives was cleared for the second time, Cheryl was

one of many Plaintiffs who came to Camp Nenookaasi in late August/early

September of 2023. Id.

     6.      As she describes in her declaration, Cheryl has found stability, security,

and great meaning living at Camp Nenookaasi. See generally Sagataw Decl. The

Camp has created space for her to build community and trust, to learn and

participate in ceremonies and other culturally important practices, to grieve losses

and connect to her spirituality, to develop life skills, to connect with housing and

treatment resources, to stay safe from her abuser, and to plan for a future in ways

she never before thought possible. Id.

     7.      This eviction threatens to take all that away from her.

                    Representative Plaintiff DeAnthony Barnes

     8.      DeAnthony Barnes has experienced housing instability since 2011 and

been a part of many unhoused communities. Barnes Decl. ¶ 2. He describes Camp

Nenookaasi as “unlike any other camp I have ever been in,” notable for its

“support and resources” and “coordination of care.” Id. at ¶ 4. In fact, DeAnthony


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is receiving more resources at Camp Nenookaasi than he received at Avivo, and

having more success as a result. Id. at ¶ 6. He is making efforts towards his

sobriety and getting into treatment, and supporting his girlfriend in doing likewise.

Id. at ¶ 7. He describes how when people have simple but necessary things—like

access to heat—this frees up mental capacity for people to “advance their thought

process” beyond survival, allowing them to consider permanent housing and

sobriety. Id. at ¶¶ 15, 17.

      9.      DeAnthony also describes how much it means to know that there are

people who still care about him and how Camp Nenookaasi builds trust. Id. at ¶ 5.

The Camp is a place of unity, where people from significantly different

backgrounds are able to live as family. Id. at ¶ 12. It’s also a place of historical

and spiritual significance, where Indigenous ceremonies take place and the history

of colonization and the pain and devastation experienced by Indigenous ancestors

is brought to the fore. Id. at ¶¶ 10-11.

      10.     Like many others at Camp Nenookaasi, DeAnthony has experienced

numerous prior evictions in which he’s lost precious mementos, including pictures

of his children, valuable technological equipment containing music he has written,

produced, and recorded, critical identification such as birth certificates and

identification, and necessities for survival including a generator, clothing, and his

tent. Id. at ¶¶ 13-14.


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     11.    If Defendant Frey is permitted to evict and destroy Camp Nenookaasi,

DeAnthony fears that he will lose his belongings in the process, including his tent,

winter clothes, sleeping bag, generator, music, musical instruments, equipment,

and religious scriptures. Id. at ¶ 18. He worries about how he and his girlfriend

will survive the winter. Id. at ¶ 15.

     12.    As DeAnthony observes about the upcoming eviction, “[d]estroying

Camp Nenookaasi isn’t going to get rid of the problem, it’s just going to make the

problems move to a new location.” Id. at ¶ 8.




                            Represented Class Plaintiffs

     13.    Plaintiffs in the Represented Class are the other unhoused people who

have found a temporary home at Camp Nenookaasi.

     14.    Many, if not most, of these residents of Camp Nenookaasi have been

evicted before from other encampments in Minneapolis. Crabtree Decl. ¶ 9;

Barnes Decl. ¶ 13; Sagataw Decl. ¶¶ 6, 20.

     15.    Each of these Plaintiffs have their own unique story—who they are,

where they come from, and what struggles have led them to be otherwise

unhoused.




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     16.    Yet all of the Represented Class Plaintiffs now find themselves in the

same situation, facing the same terrifying threats of eviction: their shelters

bulldozed, their belongings seized and destroyed, their beds thrown in a dumpster,

with nowhere else to live. Barnes Decl. ¶ 13, Sagataw Decl. ¶ 19.

     17.    All of the Represented Class Plaintiffs seek to enjoin the looming

eviction and preserve the stability, community, and hope they have created

together, with each other and with the broader community, at Camp Nenookaasi.

                           Defendant Mayor Jacob Frey

     18.    Defendant Jacob Frey is sued in his official and individual capacity. In

his official capacity, Defendant Frey is the Mayor of the City of Minneapolis, a

municipality incorporated in the State of Minnesota. In his personal capacity,

Defendant Frey is a resident of Minneapolis. As Mayor, Defendant Frey is

obligated to uphold the laws and ordinances of the State and City, and has

exclusive control and authority over the Minneapolis Police Department.

     19.    Defendant Frey campaigned for mayoral office on a promise to “End

Homelessness.” Perez Decl. ¶ 27. Instead of making good on that promise by

engaging with the community in meaningful and realistic ways, Defendant Frey

has implemented policies and initiatives to drastically increase sweeps and

evictions of houseless encampments, using his authority over the Minneapolis

Police Department to inhumanely displace people, destroy their homes, and


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continue the cycles of violence and trauma faced by the City’s most vulnerable

residents. Perez Decl. ¶¶ 23, 29; Johnson Decl. ¶ 14; Crabtree Decl. ¶¶ 24, 29.

             CLASS QUALIFICATIONS FOR CERTIFICATION

     20.    Pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(2),

named Plaintiffs Cheryl Sagataw and DeAnthony Barnes, bring this class action on

their own behalves and on behalf of all other similarly situated residents of Camp

Nenookaasi. This case meets the prerequisites for class formation and for the type

of action brought.

                                  Class Formation

     21.    The following prerequisites allow one or more members of a class to

sue as representative parties on behalf of all members: “(1) the class is so

numerous that joinder of all members is impracticable; (2) there are questions of

law or fact common to the class; (3) the claims or defenses of the representative

parties are typical of the claims and defenses of the class; and (4) the representative

parties will fairly and adequately protect the interests of the class.” FED. R. CIV.

PRO. 23(a). This case meets these prerequisites for class certification.

     22.    Numerosity. The class is so numerous that joinder of all members is

impracticable. The practicality of joinder is evaluated on a case-by-case basis and,

while no specific numerical threshold exists in law, factors to be considered

include “the size of the class, ease of identifying its members and determining their


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addresses, the facility of making service on them if joined, their geographic

dispersion and whether the size of the individual claims is so small as to inhibit

individuals from separately pursuing their own claim.” Glenn v. Daddy Rocks, 203

F.R.D. 425, 429 (8th Cir. 2001). There are approximately 170 members of the

Plaintiff class, all of whom are unhoused with no address beyond Camp

Nenookaasi, which is currently slated for eviction. Serving Plaintiffs individually

would be impossible because, being unhoused, none of them have a reliable

mailing address. When Defendant Frey has ordered prior encampments swept in

the past, Plaintiffs and others similarly situated geographically disperse and are

difficult to locate again. Should Plaintiffs not be granted their requested Temporary

Restraining Order, filed together with this Complaint, then evictions will proceed

and the cycle of dispersal will repeat. Plaintiffs also are unlikely to be able to

pursue claims as individuals because they are indigent, extremely under-resourced,

and cannot afford to hire private counsel.

     23.    Commonality. There are questions of law or fact common to the class.

Each member of the class has the same legal claims, as set forth below. The

Plaintiff class consists of all residents of Camp Nenookaasi who are otherwise

unhoused. For each of them individually and as a class, Defendant Frey violates

the same Constitutional rights in a functionally identical manner, by directing his

law enforcement agents to destroy each Plaintiffs’ home, including their property,


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privacy, and shelter, their chance at attaining sobriety and/or long-term housing,

and their means of survival.

     24.    Typicality. The claims of the representative party are typical of the

claims of the class. “A class representative must be part of the class and ‘possess

the same interest and suffer the same injury’ as the class members.” General

Telephone Co. of Southwest vs. Falcon, 457 U.S. 147, 156 (1982) (citing East

Texas Motor Freight System, Inc. v. Rodriguez, 431 U.S. 395, 403). Cheryl

Sagataw and DeAnthony Barnes, like each of the class Plaintiffs, live at Camp

Nenookaasi and face the stress, trauma, and violence of a looming eviction. Their

interests are identical to those of the class members—namely, for the eviction to be

enjoined and the residents permitted to remain and benefit from Camp Nenookaasi,

rather than endure yet another forced displacement.

     25.    Adequacy. The representative Plaintiff will fairly and adequately

protect the interests of the class. Because Cheryl Sagataw and DeAnthony are

residents of Camp Nenookaasi, they have the same goals and interests as the other

residents—to halt the Mayor’s eviction. There is no reason why they cannot fairly

and adequately protect the interests of the class. The Eighth Circuit has established

that “each representative’s interests must be sufficiently similar to those of the

class that it is unlikely that their goals and viewpoints will diverge.” Turtle Island

Foods, SPC v. Richardson, 425 F. Supp. 3d 1131 (8th Cir. 2019). Like in Turtle


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Island Foods, the representatives of this class have similar interests to those of the

class in that they are all looking to stop Defendant Frey from destroying their

communal home. Because all members of the class, including Cheryl Sagataw and

DeAnthony Barnes as representatives, seek first and foremost to have their shelter,

stability, and community preserved, it is unlikely that these goals and viewpoints

will diverge.

                                    Type of Action

      A class action may be brought when “the party opposing the class has acted

or refused to act on grounds that apply generally to the class, so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the

class as a whole.” FED. R. CIV. PRO. 23(b)(2). Here, the requested relief is for

Defendant to be enjoined from evicting Plaintiffs when they have nowhere else to

live, and from seizing and destroying their property. That relief, the cessation of

evictions, would benefit the whole class of residents at Camp Nenookaasi.

                           FACTUAL BACKGROUND

The Impending Destruction of Camp Nenookaasi by Defendant Frey Continues
      a Centuries-Old Legacy of Displacement of Indigenous Peoples.
     26.    Camp Nenookaasi is Indigenous-led and its residents are

predominantly people of Indigenous ancestry and/or enrolled Native American

tribal members. Defendant Frey’s proposed eviction of Camp Nenookaasi is

simply the latest iteration in a long history of forced displacement of Indigenous


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peoples by colonizing governments, as is apparent to the residents themselves.

See, e.g., Sagataw Decl. ¶¶ 26-27; Barnes Decl. ¶ 11.

      27.    Systemic and genocidal2 displacement has typified the relationship

between the colonizing governments of Europe, the U.S., and its territorial and

subsequent state governments, and Indigenous peoples from the beginning.

      28.    The State of Minnesota has been no exception. It portrayed the

original occupants of this land as disposable and subhuman, at best inconveniences

that posed barriers to putting the land to “better” (i.e., more profitable) uses. As a

report read at a 1901 meeting of Governor Ramsey’s Executive Council described:

       The object of [the 1841 Treaty of Governor Doty] was not to
       open the country for settlement, but primarily to provide a
       location for the Winnebago Indians, who, since the cession of
       their lands in 1837, had been on the government’s hands under

2
       Use of the word “genocidal” to reflect the relationship between settler-colonizers and
Indigenous peoples is intentional and not hyperbolic. The Holocaust Museum in Houston gives a
cursory overview of this genocide as follows:

     When European settlers arrived in the Americas, historians estimate there
     were over 10 million Native Americans living there. By 1900, their
     estimated population was under 300,000. Native Americans were subjected
     to many different forms of violence, all with the intention of destroying the
     community. In the late 1800s, blankets from smallpox patients were
     distributed to Native Americans in order to spread disease. There were
     several wars, and violence was encouraged; for example, European settlers
     were paid for each Penobscot person they killed. In the 19th century, 4,000
     Cherokee people died on the Trail of Tears, a forced march from the
     southern U.S. to Oklahoma. In the 20th century, civil rights violations were
     common, and discrimination continues to this day.

Genocide of Indigenous Peoples, HOLOCAUST MUSEUM OF HOUSTON, https://hmh.org/library/
research/genocide-of-indigenous-peoples-guide/ (last visited Apr. 24, 2022).

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         promise of a permanent home; and, secondarily, to furnish
         reservations for a number of other tribes similarly situated. In
         short, it was designed to create of the Sioux country a second
         Indian Territory, into which to dump all the odds and ends of
         Indian tribes still left east of the Mississippi. Fortunately,
         however, this treaty failed of confirmation by the Senate, and
         thus this vast and fertile territory was saved to a grander
         destiny.
         Thomas Hughes, Report on the 1841 Treaty of Governor Doty,
         Executive Council Meeting (Sept. 9, 1901), available at
         https://tile.loc.gov/storage-services/service/gdc/lhbum/0866e/08
         66e _0125_0154.pdf.
     29.      Minnesota’s “grander destiny” meant that Indigenous people would be,

once again, forcibly or duplicitously relocated so that the land could be cleared for

colonists’ settlement. Id.

     30.      Camp Nenookaasi sits on lands taken from the Dakota peoples through

deception, bad faith, duress, and threat of violence more than a century ago. See

generally Minnesota Historical Society, “Minnesota Treaties,” The U.S.-Dakota

War of 1862, https://www.usdakotawar.org/history/treaties/minnesota-treaties. It

stands in defiance of these ongoing attempts to rid what is now Minneapolis of its

original inhabitants, in the face of violent Indigenous displacement that continues

today.

Defendant Frey Has Pursued an “End to Homelessness” Through Repeated and
Cruel Displacements of Unhoused Minneapolis Residents with Nowhere Else to
                                 Live.




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     31.    Under the guise of his campaign promise to “end homelessness in five

years,” Defendant Frey has worked to keep unhoused people destabilized and on

the move. See generally Perez Decl.

     32.    Defendant Frey has overseen the routine dismantling of encampments

since he took office in 2018, with significant brutality and little support for evicted

residents. See, e.g., Crabtree Decl. ¶ 29.

     33.    When the Wall of Forgotten Natives was first cleared in 2018, newly

elected Defendant Frey and the police he commands played a muted role: instead,

local nonprofits, Red Lake Nation, and others in city government spent countless

hours and millions of dollars to transition the 175 residents from the encampment

to temporary shelter. Deena Winter, Minnesota Reformer, “Powderhorn Park

residents win reprieve from eviction, for now” July 2, 2020 (last viewed Dec. 17,

2023) https://minnesotareformer.com/2020/07/02/powderhorn-park-residents-

win-reprieve-from-eviction-for-now/.

     34.    When the encampment at Powderhorn Park formed in spring of 2020,

Defendant Frey became a vocal critic of the encampment, although he

simultaneously recognized there were no other places where all of the

encampments residents could live. Id. and @WedgeLIVE, Twitter (July 2, 2020

3:55 PM) https://twitter.com/WedgeLIVE/status/1278779243116130304?s=20

(“[T]he city doesn’t have the resources or ability to meet the significant and


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immediate need [of the Powderhorn Park residents].”). In fact, Defendant Frey

tacitly acknowledged that the encampment size was growing because so many

people were coming to access services. Id.

     35.    As Defendant Frey himself admitted, the reason unhoused people

moved to the encampment was because residents there were better able to access

treatment and housing services. Id. Nonetheless, he continued to oppose the

encampment, suggesting that he would prefer that the symptoms of poverty and

houselessness—including overdoses and illness, heatstroke and freezing to

death—occur at higher rates in hidden and isolated ways, rather than have people

gather to access the support to improve their lives that is otherwise unavailable to

them without a centralized community like the Powderhorn Park encampment or

Nenookaasi.

     36.    By August of 2020, Defendant Frey got his way. Over widespread

public opposition, the Powderhorn Park encampment was evicted and destroyed.

Niko Georgiades, Unicorn Riot, “Minneapolis Police Sweep West Powderhorn

Encampment, Pepper Spray Defenders” August 15, 2020 (last viewed Dec. 17,

2023)

https://unicornriot.ninja/2020/minneapolis-police-sweep-west-powderhorn-encamp

ment-pepper-spray-defenders/. Mayor Frey first threatened the encampment

residents with an eviction notice, and then threatened residents with armed police


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officers, chemical irritants, and drawn weapons. Id. At his behest, Minneapolis

police officers physically pulled people out of their tents, arrested them, bulldozed

their belongings, and threw everything into dumpsters. Id.

     37.    The destruction of these two large encampments are just the tip of the

iceberg. As Plaintiff Cheryl Sagataw described, she has been forcibly displaced so

many times that she has lost count. Sagataw Decl. ¶ 20. The same is true for

DeAnthony Barnes. Barnes Decl. ¶ 13. For Minneapolis’ unhoused population,

these evictions are not only frequent, but disastrous.

     38.    When encampments are demolished, its former residents do not simply

disappear. They are uprooted from their homes, forced to find a new place to

sleep, a new shelter against the elements, new bedding to keep them warm, because

their only protection against sub-zero winter nights is now crumpled in a dumpster.

See, e.g., Sagataw Decl. ¶ 22; Barnes Decl. ¶ 8; Crabtree Decl. ¶ 27; Johnson Decl.

¶ 17. Some relapse or overdose, turning to substance use to numb the stress, pain,

and hopelessness. See, e.g., Crabtree Decl. ¶ 27; Johnson Decl. ¶ 17. They lose

critical identification, paperwork, and cell phones, lose their connection to outreach

workers and resources, lose their spot on waist lists for housing and treatment, and

miss appointments and court dates. See, e.g., Sagataw Decl. ¶ 23; Barnes Decl.

¶¶13-14; Crabtree Decl. ¶ 28. They are stolen and sex-trafficked, missing and




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murdered. See, e.g., Sagataw Decl. at ¶ 25; Crabtree Decl. ¶ 27; Johnson Decl. ¶

17.

      39.   With the stability of an encampment, residents can build and maintain

relationships with social workers, substance use counselors, lawyers, and other

members of the community who can connect residents to the resources and support

needed to attain sobriety, apply for a job, clear arrest warrants, and obtain

permanent housing. See, e.g., Johnson Decl. ¶¶ 4-5, 8, 12; Crabtree Decl. ¶¶

20-21; Sagataw Decl. ¶ 17; Barnes Decl. ¶¶ 7, 17. .

      40.   When encampments are cleared, all of this hard-earned stability is

destroyed and this progress is lost because the social workers, counselors, lawyers,

and others no longer have a way to maintain contact with the unhoused people they

had been working with. See, e.g., Sagataw Decl. ¶ 19; Crabtree Decl. ¶¶ 26-28;

Perez ¶¶ 32-33.

      41.   Defendant Frey campaigned on a promise to “end homelessness.”

Perez Decl. ¶27. But in actuality, his promise appears to have been more that he

would hide homelessness, even at the expense of prolonging and exacerbating it by

destroying the hugely successful bridge to long-term and permanent housing that is

Camp Nenookaasi.

      42.   As of October 2023, the median monthly rent in Minneapolis was

$1,127 for a one bedroom unit and $1,500 for a two bedroom. HousingLink,


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Minneapolis Rental Housing Brief (October 2023). Housing providers screen

applicants and require them to have an income of 2.5 times the rent, id., but since

at least some manner of housing is functionally a prerequisite to employment it

becomes almost impossible to break out of the cycle of homelessness without

external support.

     43.     Some local housing resources exist, but accessing public housing can

be a long process as outreach workers must meet with clients and others repeatedly

over time to gather documents and paperwork, resolve warrants, etc. Crabtree

Decl. ¶ 21. People must have a consistent meeting place to regularly connect with

outreach workers towards their housing goals.

     44.    Shelters simply do not provide this kind of stability, nor are they a

realistic or viable option for many unhoused people. Barnes Decl. ¶ 16. Shelters

are often full or inaccessible, leaving unhoused people with few sustainable

alternatives to making a shelter for themselves. See generally Glenn Decl. ¶¶ 2-3

(describing the inaccessibility of shelter resources outside of the Hennepin Shelter

Hotline’s hours); id. at ¶¶ 4-5 (describing technical difficulties while on hold and

ultimately being on hold for more than half an hour before being able to speak with

someone at the Hennepin Shelter Hotline); id. at ¶ 5 (describing very few available

shelter beds, including only 9 open beds for men in the entire County); see also




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Barnes Decl. ¶ 16. This is the reality, despite the Mayor’s claim that 90 new

shelter beds would be made available January 1 and 2, 2024.

     45.    At Camp Nenookaasi, residents are providing for themselves and each

other to create a stable stepping-stone home that bypasses the significant

challenges and uncertainties that plague the existing shelter system. Plaintiffs are

working hard to create an environment that allows them not only to survive being

homeless, but also to transition out of homelessness.

     46.    Unfortunately, if history is allowed to repeat itself, Defendant Frey will

evict and destroy Camp Nenookaasi and Plaintiffs’ hopes for the better future they

were building together.

 Defendant Frey, Despite Objections from City Council and Other Government
     Officials, Intends to Move Forward with Evicting Camp Nenookaasi.
     47.    Originally, Defendant announced that Camp Nenookaasi would be

evicted on December 14, 2023. This eviction date was pushed back to December

19, 2023. See Ex. 4. Then, it was postponed until an unspecified future date. On

December 29, 2023, the City posted notice that it intends to evict Camp

Nenookaasi in less than a week, on January 4, 2024. See Ex. 5.

     48.    These repeated eviction postponements also appear to reflect the

tension between Defendant Frey and the significant block of Minneapolis officials

who recognize that, until the City provides other meaningful solutions, Camp

Nenookaasi is filling lifesaving gaps for the unhoused community during a


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Declared Public Health Emergency of Unsheltered Homelessness. See, e.g., Exs. 2

& 3. With tireless advocacy from organizers, community members, and residents,

City Council has come around to the humanitarian concerns with the impending

eviction, and the benefits to the community as well as the residents of having the

Camp remain until a more permanent solution can be devised collectively. Perez

Decl. at ¶ 29; see also Ex. 3.

     49.    Prior to the previously scheduled eviction on December 19, for

example, residents and organizers held a meeting with City Council and several

members of the Minneapolis government. Id. at ¶ 26. The only invited government

official who chose not to attend was Defendant Frey. Id.

     50.    This refusal to engage, coupled with his continued opposition to

building solutions that address everyone's concerns, demonstrates Defendant Frey’s

knowing disregard for the health, safety, and wellbeing of Indigenous and

unhoused people. Id. at ¶¶ 21-23.

     51.    Upon information and belief, neither Defendant nor the law

enforcement officers he will task with evicting Camp Nenookaasi residents have

reasonable policies and procedures in place to inventory, safeguard, and return

seized property. To the contrary, prior evictions have resulted in the destruction

and disposal of anything Plaintiffs cannot carry away with them. See, e.g.,

Crabtree Decl. ¶ 13; Sagataw Decl. ¶ 20; Barnes Decl. ¶¶ 13-15, 18.


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     52.    Based on past patterns and practice, it is anticipated that during the

planned eviction of Camp Nenookaasi, law enforcement, at the direction of

Defendant Frey, will enter and destroy Plaintiffs’ home and seize and destroy all of

Plaintiffs’ worldly possessions, without warrants or other legal justification. Id.;

see also Sagataw Decl., ¶¶ 19-23; Barnes Decl. ¶¶ 13-15, 18.

     53.    Defendant Frey has not indicated what he expects Plaintiffs to do to

avoid the threatened destruction of their homes and property, or where Plaintiffs

are expected to go after they are evicted. Crabtree Decl. ¶¶ 26-30. At this time,

Defendant Frey has not proposed a safe and reasonable alternative housing plan for

Plaintiffs, and his actions will leave Plaintiffs vulnerable and with few alternatives

to the dangers of traffickers, relapse and overdose, infection, and freezing to death.

Id.; see also Glenn Decl. (describing how few shelter beds are available according

to the Hennepin Shelter Hotline as of the afternoon of January 1, 2024).

     54.    Many class member Plaintiffs are disabled, elderly, and otherwise

particularly vulnerable to the elements and limited in their mobility and ability to

gather their belongings at the behest of an armed officer threatening arrest. See,

e.g., Crabtree Decl. ¶¶ 8, 13, 14, 27; Johnson Decl. ¶¶ 11, 14.

     55.    Without the injunctive relief Plaintiffs now seek, they will be left with

no alternative to yet another forced displacement under threat of arrest. See, e.g.,

Sagataw Decl.


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                               CAUSES OF ACTION

                                      COUNT I:
  Unlawful Seizure & Destruction of Plaintiffs’ Property in Violation of the
Fourth Amendment of the United States Constitution and Article I, Section 10
                      of the Minnesota Constitution
      56.    Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      57.    The Fourth Amendment to the United States Constitution and its

identically worded counterpart, Article I Section 10 of the Minnesota Constitution,

afford all civilians in the United States the right “to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.”

      58.    This Constitutional Right protects Plaintiffs’ homes and belongings at

Camp Nenookaasi. See, e.g., State v. Pippin, 200 Wn. App. 826 (Wash. Ct. App.

2017) (finding that an unhoused person had privacy interests in their tent). “The

Fourth Amendment protects homeless individuals from seizure and summary

destruction of their unabandoned, but temporarily unattended, personal property.”

Coalition on Homelessness v. City and County of San Francisco, 647 F. Supp. 3d

806, 837 (9th Cir. 2023) (citing Lavan v. City of Los Angeles, 693 F.3d 1022).

      59.    The announced seizure and destruction of Plaintiffs’ property during

the eviction of Camp Nenookaasi constitutes a meaningful interference with

Plaintiffs’ possessory interests in their property, and thus a “seizure.” Id.



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      60.    Defendant Frey’s planned seizure and destruction of Plaintiffs’

property without a valid warrant, probable cause, or exigent circumstances is

unreasonable and contrary to the Fourth Amendment to the U.S. Constitution, as

applied to State governments and their subdivisions pursuant to the Fourteenth

Amendment and 42 U.S.C. § 1983, and Article I, Section 10 of the Minnesota

Constitution.

      61.    Defendant Frey’s policies, practices, and custom of directing his law

enforcement officers to seize and destroy Plaintiffs’ property without a valid

warrant, probable cause, or exigent circumstances is unreasonable and contrary to

the Fourth Amendment to the U.S. Constitution, as applied to State governments

and their subdivisions pursuant to the Fourteenth Amendment and 42 U.S.C. §

1983, and Article I, Section 10 of the Minnesota Constitution.

                                     COUNT II:

 Procedural Due Process Violations Under the Fourteenth Amendment of the
     United States Constitution and Article I, Section 7 of the Minnesota
                                Constitution
      62.    Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      63.    Plaintiffs have a constitutionally protected property interest in their

personal belongings and effects.




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      64.      Defendant Frey’s planned seizure and destruction of Plaintiffs’

property deprives them of this protected interest in their personal belongings and

effects.

      65.      Defendant Frey’s planned seizure and destruction of Plaintiffs’

property without adequate and effective notice, an opportunity to be heard, and

pre- and post-deprivation mechanisms to challenge and reclaim their property

violates Plaintiffs’ rights to Due Process of law protected by the Fourteenth

Amendment to the U.S. Constitution, through 42 U.S.C. § 1983, and Article I,

Section 7 of the Minnesota Constitution.

      66.      Defendant Frey’s policy, pattern, and custom of seizing and destroying

Plaintiffs’ property without adequate and effective notice, an opportunity to be

heard, and pre- and post-deprivation mechanisms to challenge and reclaim their

property violates Plaintiffs’ rights to Due Process of law protected by the

Fourteenth Amendment to the U.S. Constitution, through 42 U.S.C. § 1983, and

Article I, Section 7 of the Minnesota Constitution.

                                      COUNT III:
  State-Created Danger in Violation of the Right to Substantive Due Process
 Under the Fourteenth Amendment of the United States Constitution and the
                          Minnesota Constitution
      67.      Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      68.      Plaintiffs are members of a limited, precisely definable group.

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     69.      Defendant Frey’s prior and impending use of bulldozers, armed law

enforcement officers, and chemical irritants when forcefully ejecting Plaintiffs

from their shelters, and without adequate notice, places Plaintiffs at significant risk

of serious, immediate, and proximate harm that Plaintiffs would not otherwise have

faced without Defendant’s actions.

     70.      The risk to Plaintiffs created by Defendant Frey’s conduct was and

remains obvious and known to him.

     71.      Defendant Frey’s prior and impending actions in evicting and

destroying Camp Nenookaasi are done recklessly and in conscious disregard of the

risks they have previously created and continue to create because of the forceful

manner in which his law enforcement officers have ejected and plan to eject

Plaintiffs from their shelters, destroying their vital personal property in the process.

     72.      Defendant Frey’s conduct, as outlined in this Complaint, shocks the

conscience.

     73.      As a direct and proximate consequence of Defendant Frey’s

above-described policy, pattern, and custom, Plaintiffs were and continue to be

subjected to danger of Defendant’s own making in violation of the Fourteenth

Amendment to the United States Constitution, through 42 U.S.C. § 1983, and the

Minnesota Constitution.

                                     COUNT IV:


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            Violation of the Eighth Amendment to the US Constitution
      74.    Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      75.    The Eighth Amendment to the U.S. Constitution, as applied to the

States and their subdivisions through the Fourteenth Amendment, protects civilians

from “cruel and unusual punishment.”

      76.    “The Eighth Amendment prohibits the state from punishing an

involuntary act or condition if it is the unavoidable consequence of one’s status or

being.” Coalition on Homelessness, 647 F.Supp. 3d at 832 (quoting Martin v. City

of Boise, 920 F.3d 584, 616 (9th Cir. 2019)). This includes “criminaliz[ing]

indigent, homeless people for sleeping outdoors, on public property, on the false

premise they had a choice in the matter.” Id. at 833.

      77.    Plaintiffs do not have reasonable alternatives to living at Camp

Nenookaasi.

      78.    By evicting Plaintiffs, under penalty of arrest, Defendant Frey and his

law enforcement officers impose or threaten to impose criminal penalties and other

harm and punishment for conduct which Plaintiffs cannot avoid.

      79.    The manner in which these evictions are carried out—by armed law

enforcement officers under threat of arrest, with residents often pulled out of their

tents forcibly, arrested, and even tear-gassed or sprayed with chemical irritants,



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their belongings bulldozed, destroyed, and trashed—amounts to a penalty, harm,

and/or punishment that Defendant Frey and his law enforcement officers impose or

threaten to impose for conduct which Plaintiffs cannot avoid.

                                      COUNT V:
               Conversion in Violation of Minnesota Common Law
      80.    Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      81.    Plaintiffs are in possession of their personal property and Defendant

Frey intends for his agents to intentionally seize and destroy Plaintiffs’ property

without notice, an opportunity to retrieve it, or adequate compensation, depriving

the Plaintiffs of their possessory interest in the property.

      82.    Defendant Frey has no lawful authority to seize or order others to seize

and destroy Plaintiffs’ property. As a direct and proximate consequence of

Defendant Frey’s acts in authorizing these evictions, Plaintiffs will suffer the loss

of their personal property.


                              DECLARATORY RELIEF

      83.    Plaintiffs reallege and incorporate the preceding paragraphs as if fully

set forth herein.

      84.    An actual controversy exists between Plaintiffs and Defendant Frey.

Defendant Frey has planned, announced, and commenced engaging in the unlawful



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and unconstitutional acts set forth within. Plaintiffs have suffered, will continue to

suffer, and will face imminent and increased suffering as a result of Defendant

Frey’s unlawful behavior. Plaintiffs seek a declaration of their rights with regard to

this controversy and a declaration that Defendant Frey’s policies, practices, and

customs as set forth herein violate those rights under the United States and

Minnesota Constitutions.




                                 PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully ask this Honorable Court for the following

relief:

   1. For preliminary and permanent injunctive relief enjoining Defendant Frey

          and his officials, employees, agents, officers, assigns, and all those working

          in concert with him from moving forward with evicting the residents of

          Camp Nenookaasi, unless and until safe, adequate, culturally appropriate,

          stable housing can be guaranteed and provided to all residents;

   2. For declaratory relief, pursuant to 28 U.S.C. §§ 2201, 2202, and Rule 57 of

          the Federal Rules of Civil Procedure, as requested above;

   3. For compensatory and punitive damages, in amounts to be determined in

          future proceedings, against Defendant Frey;


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   4. For an award of attorneys’ fees and costs pursuant to 42 U.S.C. § 1988; and

   5. For any other relief that this Honorable Court deems equitable and just.



                                 JURY DEMAND

      Plaintiffs hereby demand a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.



                                                   Signed,



Date: January
      January1,2,2024
                  2024                             ____________________
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